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        4     Attorney for defendant Praxedis Barragan

        5
                           IN THE UNITED STATES DISTRICT COURT IN AND FOR
        6                        THE EASTERN DISTRICT OF CALIFORNIA

        7
              UNITED STATES OF AMERICA,            )            Case No. 1:10-cr-00313 OWW
        8                                          )
                                Plaintiff,         )            ORDER DENYING
        9                                          )            GOVERNMENT’S MOTION TO
              v.                                   )            QUASH THIRD-PARTY SUBPOENAS
        10                                         )            TO INSPECT PROPERTY
              PRAXEDIS BARRAGAN, et al.,           )
        11                                         )
                                 Defendant.        )
        12    ___________________________________ )

        13           The Government’s motion to quash defendant Barragan’s third-party subpoenas

              to inspect property came before this Court April 4, 2011. Karen Escobar appeared for
        14
              the Government, Carolyn D. Phillips appeared for defendant Barragan and specially
        15
              appeared for defendant Juan Galviz Garcia, Charles Lee appeared on behalf of
        16    defendant Ramon Torres-Arreola.

        17           The Court after considering the pleadings, record, and oral argument, found:

                     (1) the Government did not have standing to quash the subpoenas;
        18
                     (2) none of the three private landowners who had been served with the
        19
              subpoenas appeared at the hearing or filed objections to the subpoenas, thereby
        20    waiving any objections to the subpoenas; and,

        21           (3) the subpoenas met the three-prong test set forth in U.S. v. Nixon, 418 U.S. 683

              (1974), of relevancy, admissibility, and specificity; and,
        22

        23
              Order Denying Government’s Motion to Quash Third-Party Subpoenas to Inspect Property;
              United States v. Praxedis Barragan, Case No. 1:10-cr-0313 OWW

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        1
                     IT IS HEREBY ORDERED THAT:
        2
                     (1) The government’s motion to quash defendant Barragan’s third-party
        3     subpoenas to inspect three parcels of land identified in the subpoenas filed with the

        4     court is DENIED.

                     (2) The private property owners served with subpoenas: Bobecka LLC, owner of
        5
              property identified as APN 053-036-002 located in Madera County California; David H.
        6
              Jackson owner of property identified as APN 053-036-005-000, property located in
        7     Madera County California; and, McGinty Properties LP, owners of APN 053-036-004-

        8     000, located in Madera County California, have waived any and all objections to the

              subpoenas, and must now fully comply with the terms of the subpoenas to allow
        9
              defense counsel and their assistants to come onto their respective properties at a date
        10
              and time to be designated by further notice of the Court and with prior notice to the
        11    property owners.

        12           (3) During the inspection of the properties, counsel for defendants and their

              assistants shall not disturb the land, dig into the ground, move fences or alter the
        13
              property in any way.
        14
                     (4) The property owners Lynne A. Pierce or Margaret J. Pierce, upon whom
        15    service was attempted but upon whom service could not be completed before the

        16    hearing on April 4, 2011, shall be served with a subpoena for inspection of land, APN

              053-036-003-000.
        17
                     (5) The next hearing date in this matter will be held May 9, 2011 at 9 a.m. Time is
        18
              excluded to and through May 9, 2011.
        19

        20    Dated: April 6, 2011                             /s/ OLIVER W. WANGER
                                                               UNITED STATES DISTRICT JUDGE
        21

        22

        23
              Order Denying Government’s Motion to Quash Third-Party Subpoenas to Inspect Property;
              United States v. Praxedis Barragan, Case No. 1:10-cr-0313 OWW

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